Pro Se 7 (Rev. 12t'16) Complaint for Ernployment Discrirninntion

 

UNITED STATES DISTRICT COURT

for the

Middle District of North Carolina

Domanick Bullock

Division

Case No. \B C \i l D_nl-U4

DF_C 2 6 2013

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Piaintijf(s)
(Write the fail name of each plaintiff who is filing this complaint
[ftire names of all the plaintijj's cannot fit in the space above,
please write "see attache " in the space and attach an additional
page With the fall list ofnames.)

.-v..

AW North Carolina, lnc, and
Effex Management Solutions, LLC

Jlll'y Tl'lal! (clteck one) g Y€S

 

Defendant(s)
(Write thefail name ofeaciz defendant who is being sued. [fthe
names ofall the defendants cannot fit in the space above, please
write “see attached ” in the space and attach an additional page
with tirefuli list of names.)

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(to be fitted in by the Cierk’s Oj]ice)

I:]No

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I. The Parties to This Complaint
A. The Plaintiff(s)

Pi'ovide the information below for each plaintiff named in the complaint Attach additional pages if

needed.
Name
Street Address
City and Countv
State and Zip Code
Telephone Number
E-mail Address

_Pomanick Bullock

 

110 Scott Circle

Norlina, Warren

 

North Carolina, 27563

 

(919) 9?1-211()

 

doman_i_ol_<bullo ok@gmail . com

 

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B.

'I`he Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation For an individual defendant,
include the person’s job or title (tftmown). Attach additional pages if needed

Defendant No. l

 

 

 

 

 

Name AW North Carolina, Inc.
Job or Title (g'fknown)

Street Address 4112 Old Oxford Rd
Citv and CountV Durham, Durham

State and Zip Code North Carolina, 27712
Telephone Number (919) 479-6400

 

E-mail Address (;'fknown)

 

Defendant No. 2

 

 

 

 

 

Name Effex Management Solutions, LLC

Job or Title (tftmown)

Street Address 1302 Kingwood Drive

City and County Kingwood, Harris and Montgornery

State and Zip Code B§as, 77339 _ _
Telephone Nurnber (281] 359-8820

 

E-mail Address (_ifknown)

 

Defendant No. 3

Name

 

JOb 01' Titl€: (ifknown)

 

Street Address

 

City and Countv

 

State and Zip Code

 

Telephone Number

 

E-mail Address (tfknown)

 

Defendant No. 4
Name
10b OI‘ Titie kanoivn)

 

 

Street Address

 

City and County

 

State and Zip Code

 

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Telephone Number
E-mail Address (z_'ftmown)

 

C. Place of Employment

The address at Which l sought employment or was employed by the defendant(S) is

 

 

 

 

 

Name Effe Management Solutions / AW North Carolina
Streer Address 4112 old oxford Rd '
City and County Erham, Durham
State and Zip Code __North Carolina, 27212
Teiephone Number (281) 359-3820 w
II. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all mar apply):

|Xl

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

Wote: In order to bring suit in federal district court under Titie VII, you must first obtain a
Notice ofRight to Sue letter from the Equai Employment Opportunity Cornmission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note.' ln order to bring suit in federal district court under the Age Discrimination in
Employinent Act, you must first file a charge with the Equal Employment Opportunity
Contniission.)

Arnericans With Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabiiities
Act, you must first obtain a Notice of Right to Sue letter from the Equai Employment
Opportunity Cornrnission.)

thel' federal law (specijy the federal iaw)!

 

R€leval'lt Stat€ law (specifv, if known)i

 

Relevant city or county law (specz)j), ifknown):

 

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III. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph Attach additional pages if needed.

A. The discriminatory conduct of which l complain in this action includes (check all that appty):
IX\ Failure to hire me.
g Termination of my employment
i:] Failure to promote me.
l:l Failure to accommodate my disability.
FI{ Unequal terms and conditions of my employment.
P'A Retaliation.
m Other acts (speczfy):

 

(Note: Oniy those grounds raised in the charge filed with the Equal Empioyment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

B. lt is my best recollection that the alleged discriminatory acts occurred on date(s)
October 12, 2017

 

 

 

 

 

 

C. I believe that defendant(s) (check one):
214 isiare still committing these acts against me.
[\ is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check att that apply and explain):
I:I race
\:l color 7
§ gender/sex
[j religion _
i:l national origin 4
[:l age gear ofbirth) (oniy when asserting a claim of age discrimination.)
\:\ disability or perceived disabilii;dpeeta dental

E. The facts of my case are as follows Attach additional pages if needed.

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1 believe AWNC and Effex jointly discriminated and retaliated against me after 1 reported sexual
harassment from an AWNC colleague Ultimately, 1 suffered an adverse employment action in the form
of a termination on October 12, 2017.

1 was hired through Effex Temp Agency on August 8, 201')r as a Line Worker for AWNC. Effex exists
physically on AW's site.

On August 10, manager Hakim Lakim recommended that 1 apply for a job directly at AW due to my
safety knowledge After a series of interviews, Gilbert Brooks hired me because 1 came highly
recommended 1 could move departments once 1 had a trained replacement for my position.

On the l9th, a black male asked me if I could help him take out the garbage Confused, 1 walked towards
him. He then propositioned to accompany me to the bathroom--he admitted that he didn‘t need help
after all. He said that he could help me in the bathroom because he "knew what he was doing." 1
declined and left the area immediately 1 reported the incident to my Line Manager, Who took a sworn
statement She reported it to Effex and Effex reported to AWNC. In a joint meeting, AWNC's HR
Director, Mike Gabbard, admitted the comment was disrespectful and promised to get to the bottom of
it.

The next week, 1 saw the employee with a different colored hat that indicated he received a promotion
He drove past me on a cart and said what I tried didn't work. 1-1e continued to drive past me eveiyday
and taunt me.

About three weeks later, 1 moved to the new position, or 1 was supposed lt turns out that I remained an
employee with Effex instead of being hired out-right, and at the pay, of the publicized AW position that
1 was technically assuming After inquiring about my new pay and reported continued harassment, 1 was
retaliated against in multiple Ways.

Mcst notably, on October ll, Gabbard instructed me to reenact the sexual harassment He was present
with an HR representative Employees could overhear. 1 was utterly humiliated. Gabbard showed the
surveillance and insisted that 1 was lying about the sexual harassment because allegedly there couldn't
have been enough time for the coworker to say what he said. 1 was escorted off the premises that day.

Effex called me the next day and terminated me because 1 couldn't be trusted, despite the fact that the
same worker harassed my manager before

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

A.

lt is my best recollection that 1 filed a charge with the Equal Employment Opportunity Cornmission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
01'1 (date)

April 10, 2018

The Equal Employment Opportunity Commission (check one):

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VI.

l:l has not issued a Notice ofRight to Sue letter.
m issued a Notice of Right to Sue letter, which 1 received on (date) 9/24/2018

(Note.' Attach a copy of the Notice ofRight to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendants alleged discriminatory conduct (check one):

l:l 60 days or more have elapsed.
l:\ less than 60 days have elapsed

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments Include any basis for claiming that the wrongs alleged are continuing at the present time. lnclude the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. lnclude any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages

Back pay, front pay, compensatory damages, punitive damages, and any other relief the court may deem just and
proper.

Certiflcation and Closing

Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my knowledge, information,
and belief that this complaint (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary deiay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll.

A. For Parties Without an Attorney

l agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. lunderstand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing:

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B. For Attorneys

Date of` signing: /éf_;/’{ _¢ Zp-/‘F-

Signature of Attorney

 

Printed Name of Attorney
Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

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EEoc Form 161 (11.115) U.S. EQUAL EMPLOYN|ENT OPPORTUNlTY COMM|SS|ON

 

DlslvllssAL AND NoncE oF RicHTs

 

 

To: From:

lllls. Dornanick Bul|ock US, EEOC, Ralelgh Area Office

110 Scott Clrcle 434 Fayetteville Street, Suite 700

Norlina, NC 27563 Ra|elgh, NC 27601

:l On behalf of person(s) aggrieved whose identity is
coNFloEerAl_ (29 cFR §1601.7(a))
EEOC Charge Nc. EEOC Representatlve Telephone No.
A|van L. Robinson,

433-2018-01989 Senlor Federal lnvestigator (919) 856-4082

 

THE EEOC iS CLOS|NG lTS FlLE ON THlS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to slate a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabi|ities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes

Your charge was not timely h|ed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to tile your charge

HUUU`E

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes This does not certify that the respondent is in compliance with
the statutes No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge

Ulj

Other (briefly state)

- NOT|CE OF SUlT RlGHTS -

(See the addillonal information allached lo this fonn.)

Tit|e Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. ¥our
lawsuit must be filed W|THIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
|ost. (The time limit for filing suit based on a claim under state law may be different.)

l=.qual Pay Aci (EPA): EPA suits must be filed in federal or slate ¢burt within § years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years 13 yearsl
before you file suit may not be collectible.

On ben f the Commission

    
 
 
 

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cting District Director
CCZ
MS- H°“y N- Mam"lr Att°mell le. Anitra K. Brown, Attorney
FlSHER & PH|LL|PS, LLP AN\TRA K. eRowN LEGAL ANo coNsuLnNe
Post Office Box 36775 SERV|CES
Charlotte, NC 28236 421 Fayetteville Street, Suite 1100

Ra|eigh, NC 27601

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EEOC Formisi iiiriei U.S. EQUAL EMPLOYMENT OPPORTUNlTY CONIMISS|ON

 

DisiiliissAi_ AND NoricE oi= Riciirs

 

 

To: From:

lllls. Domanick Bullock US, EEOC, Ralelgh Area Offlce

110 Scott Circ|e 434 Fayettevil|e Street, Suite 700

Noi'lina, NC 27563 Ra|eigh, NC 27601

|:l On behalf of psrson(s) aggrieved whose identity is
CONFllJENTlAi_ (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Alvan L. Robinson,

433-2018-01990 Senior Federal investigator (919) 856~4082

 

THE EEOC iS CLOS|NG ITS FlLE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
_ d 7|:_:i _ T_he facts alleged in the charge fail to state a claim under any of the statutes enforced by¢the EEOC.

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l:|l] EEU[]

Other (bn'efly slate)

- NOTlCE OF SUlT RIGHTS -

(See the additional information attached to this torm.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscriminatton Act, or the Age
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You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WlTHlN 90 DA¥S of your receipt of this notice; or your right to sue based on this charge will be
lost (The time limit for filing suit based on a claim under stale law may be differenl.)

Equa| Pay Act (EPA}: EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment Thls means that backpay due for any violations that occurred more than 2 years (3 yearsl
before you file suit may not be collectible.

On behalf of theC lission
t … fdic or/»<a/

E"°'°S“'esis) l Tho as M.JCo|clough, {Dale Malied)
Act g District Director
CC§

llllr. Al|en Thomas. Attorney lllls. Anitra K. Brown, Attorney

Og|etree, Deakins, Nash, Smoak and Stewart, PLLC AN|TRA K. BROWN LEGAL AND CONSULT|NG
4208 Six Forks Road, Suite 1100 SERVICES

Raleigh, NC 21609 421 Fayettevllle Street, Suite 1100

Ra|eigh, NC 27601

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